        Case 1:17-cr-00232-EGS Document 96 Filed 07/10/19 Page 1 of 1


                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                          v.
                                         Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

                          Defendant


                               NOTICE OF APPEARANCE

      The United States of America by and through its attorney, the United States

Attorney for the District of Columbia, informs the Court that Assistant United States

Attorney Jocelyn Ballantine is assigned to the case, along with Special Assistant

United States Attorney Brandon Van Grack and Assistant United States Attorney

Deborah Curtis, who are currently counsel of record.       Jocelyn Ballantine can be

contacted   at   telephone      number    (202) 252-7252    and/or   email   address

Jocelyn.Ballantine2@usdoj.gov. This is her notice of appearance in this matter on

behalf of the United States.

                                         Respectfully submitted,

                                         JESSIE K. LIU
                                         UNITED STATES ATTORNEY
                                         D.C. Bar No. 472845

                                         By: /s/

                                         JOCELYN BALLANTINE
                                         CA Bar No. 208267
                                         Assistant United States Attorney
                                         555 4th Street NW
                                         Washington, D.C. 20530
